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WILK AUSLANDER LLP
825 Eighth Avenue, Suite 2900
New York, New York 10019
Telephone: (212) 981-2300
Jay S. Auslander
Eric J. Snyder
Natalie Shkolnik
Julie Cilia
Robert C. Reiland
Counsel for Seadrill Limited and Fintech Advisory Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:
                                                          Chapter 15
PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., et
al.                                                       Case No. 18-11094 (SCC)
                                                          (Jointly Administered)
Debtors in a Foreign Proceeding.

GONZALO GIL-WHITE, PERSONALLY AND IN HIS                  Adv. Pro. No. 19-01294
CAPACITY AS FOREIGN REPRESENTATIVE OF
PERFORADORA ORO NEGRO, S. DE R.L. DE C.V.
AND INTEGRADORA DE SERVICIOS PETROLEROS
ORO NEGRO, S.A.P.I. DE C.V.
                        Plaintiff,
                -against-

ALP ERCIL; ALTERNA CAPITAL PARTNERS, LLC;
AMA CAPITAL PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
RESEARCH AND CAPITAL MANAGEMENT LTD.;
CQS (UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MÉXICO, S.A., INSTITUCIÓN DE
BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
BARRADAS ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN; KRISTAN
BODDEN; MARITIME FINANCE COMPANY LTD.;
NOEL BLAIR HUNTER COCHRANE, JR; ORO
NEGRO PRIMUS PTE., LTD.; ORO NEGRO LAURUS
PTE., LTD.; ORO NEGRO FORTIUS PTE., LTD.; ORO
NEGRO DECUS PTE., LTD.; ORO NEGRO IMPETUS
PTE., LTD.; PAUL MATISON LEAND, JR.; ROGER
ALAN BARTLETT; ROGER ARNOLD HANCOCK;
SEADRILL LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100
                        Defendants.
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                   NOTICE OF SUGGESTION OF BANKRUPTCY
                 FOR SEADRILL LIMITED, ET AL., AND CERTAIN
          OF ITS AFFILIATES AND AUTOMATIC STAY OF PROCEEDINGS

       PLEASE TAKE NOTICE that on February 7, 2021, Asia Offshore Drilling Limited and

four affiliates filed voluntary petitions under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas (the

“Court”), and on February 10, 2021, Seadrill Limited and the debtors and debtors in possession

identified in the order attached as Exhibit B (the “Debtors”) filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code in the Court. A copy of the voluntary petition of the lead

Debtor, Seadrill Limited, is attached hereto as Exhibit A.

       PLEASE TAKE FURTHER NOTICE that the Debtors’ chapter 11 cases are pending

before the Honorable Judge David R. Jones and are being jointly administered under the lead case

In re Seadrill Limited, Case No. Case No. 21-30427 (DRJ) (the “Chapter 11 Cases”). A copy of

the order entered on February 11, 2021 directing joint administration of these Chapter 11 Cases is

attached hereto as Exhibit B.

       PLEASE TAKE FURTHER NOTICE that, pursuant to section 362(a) of the

Bankruptcy Code, the Debtors’ filing of their respective voluntary petitions gives rise to a stay,

applicable to all entities, of, among other things: (a) the commencement or continuation of any

judicial, administrative, or other action or proceeding against the Debtors (i) that was or could have

been commenced before the commencement of the Chapter 11 Cases, or (ii) to recover a claim

against the Debtors that arose before the commencement of the Chapter 11 Cases;

(b) the enforcement against any of the Debtors or against any property of each of the Debtors’

bankruptcy estates of a judgment obtained prior to the commencement of the Chapter 11 Cases;

and (c) any act to obtain possession of property of or from any of the Debtors’ bankruptcy estates,




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or to exercise control over property of any of the Debtors’ bankruptcy estates.1 No order has been

entered in the Chapter 11 Cases granting relief from the automatic stay.

        PLEASE TAKE FURTHER NOTICE that additional information regarding the Chapter

11 Cases may be obtained free of charge by: (i) reviewing, free of charge, the docket of the

Debtors’ Chapter 11 Cases on the website of the Debtors’ proposed claims and noticing agent at

http://cases.primeclerk.com/SeadrillLimited or by calling (844) 858-8891 (toll free) or

(312) 667-1347 (international);            (ii) visiting       the    Bankruptcy          Court’s       website       at

https://ecf.sdtx.uscourts.gov (PACER login and password required) in accordance with the

procedures and fees set forth therein; or (iii) contacting any of the following proposed counsel for

the Debtors: (a) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Anup

Sathy, Ross Kwasteniet, Brad Weiland, or Spencer Winters, or (b) Jackson Walker LLP, 1401

McKinney Street, Suite 1900, Houston, Texas 77010, Attn: Matthew D. Cavenaugh, Jennifer F.

Wertz, Vienna F. Anaya, and Victoria Argeroplos.

                                [Remainder of page intentionally left blank]




1   Nothing herein shall constitute a waiver of the Debtors’ rights to assert any claims, counterclaims, defenses, rights
    of setoff or recoupment, or any other claims against any party to the above-captioned case. The Debtors expressly
    reserve all rights to contest any claims that may be asserted against the Debtors.



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Dated: New York, New York               Wilk Auslander LLP
February 22, 2021

                                        By:          /s/

                                        Eric J. Snyder
                                        Jay S. Auslander
                                        Natalie Shkolnik
                                        Julie Cilia
                                        Robert C. Reiland
                                        825 Eighth Avenue, Suite 2900
                                        New York, New York 10019
                                        Telephone: (212) 981-2300
                                        Facsimile: (212) 752-6380
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                               CERTIFICATE OF SERVICE

       I, Eric J. Snyder, certify that on the 22nd of February 2021, I caused to be served, via
the Court’s electronic filing system, a true and correct copy of the foregoing Notice of
Suggestion of Bankruptcy for Seadrill Limited and Certain of its Affiliates and Automatic Stay
of Proceedings, on the parties listed below.

 Dated: New York, New York                     Wilk Auslander LLP
 February 22, 2021
                                               By:            /s/
                                                      Eric J. Snyder
                                               825 Eighth Avenue, Suite 2900
                                               New York, New York 10019
                                               Telephone: (212) 981-2300
                                               Facsimile: (212) 752-6380


Parties receiving service:

 Scott C. Shelley                                  Gabriel Fernando Soledad
 Quinn Emanuel Urquhart & Sullivan, LLP            Quinn Emanuel Urquhart & Sullivan LLP
 51 Madison Avenue                                 1300 I Street NW
 New York, NY 10010                                Suite 900
 (212) 849-7358                                    Washington, DC 20005
 Fax : (212) 849-7100                              202-538-8000
 Email: scottshelley@quinnemanuel.com              Fax : 202-538-8100
                                                   Email: gabrielsoledad@quinnemanuel.com

 Lauren Marguerite Weinstein                       Justin M Ellis
 MoloLamken LLP                                    Molo Lamken LLP
 600 New Hampshire Avenue, NW                      430 Park Avenue
 Suite 500                                         New York, NY 10022
 Washington, DC 20037                              212-607-8160
 202-556-2000                                      Email: jellis@mololamken.com
 Email: lweinstein@mololamken.com

 Jay B. Kasner                                     Israel Dahan
 Skadden, Arps, Slate, Meagher & Flom LLP          King & Spalding LLP
 One Manhattan West                                1185 Avenue of the Americas
 New York, NY 10001-8602                           New York, NY 10036
 212-735-2628                                      212-556-2114
 Fax : 917-777-2628                                Fax : 212-556-2222
 Email: jay.kasner@skadden.com                     Email: idahan@kslaw.com
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Scott D. Musoff                            William J O'Brien
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George A. Zimmerman                        Shmuel Vasser
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212-735-2047                               (212) 698-3500
Email: george.zimmerman@skadden.com        Fax : (212) 698-3599
                                           Email: shmuel.vasser@dechert.com

William Clareman
Paul, Weiss, Rifkind, Wharton
& Garrison LLP
1285 Avenue of the Americas
New York, NY 10019
212-373-3000
Email: wclareman@paulweiss.com
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                        EXHIBIT A
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Debtor            Seadrill Limited                                              Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above
                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         2111 - Oil and Gas Extraction

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
      debtor as defined in §                                 are less than $2,725,625. If this sub-box is selected, attach the most recent balance
      1182(1) who elects to                                  sheet, statement of operations, cash-flow statement, and federal income tax return or
      proceed under subchapter                               if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      V of chapter 11 (whether or
                                                           ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      not the debtor is a “small
                                                             liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      business debtor”) must                                 and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
      check the second sub-box.                              selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist, follow
                                                             the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ A plan is being filed with this petition.

                                                           ☐    Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☐ No      District    Southern District               09/12/2017                        See Rider 1
   filed by or against the debtor     ☒ Yes.                of Texas               When     MM/DD/YYYY       Case number
   or an affiliate of the debtor
   within the last 8 years?                     District    Southern               When     12/01/2020;      Case number      See Rider 1
                                                            District                        02/07/2021
     If more than 2 cases, attach a                         of Texas                        MM/DD/YYYY
     separate list.




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Seadrill Dorado Ltd                             Case No. 17-60112
Seadrill Draco Ltd                              Case No. 17-60113
Seadrill Eclipse Ltd                            Case No. 17-60114
Seadrill Eminence Ltd                           Case No. 17-60115
Seadrill Far East Limited                       Case No. 17-60116
Seadrill Freedom Ltd                            Case No. 17-60117
Seadrill GCC Operations Ltd                     Case No. 17-60118
Seadrill Gemini Ltd                             Case No. 17-60119
Seadrill Global Services Ltd                    Case No. 17-60120
Seadrill Gulf Operations Neptune LLC            Case No. 17-60121
Seadrill Indonesia Ltd                          Case No. 17-60122
Seadrill International Resourcing DMCC          Case No. 17-60123
Seadrill Jack Up Holding Ltd                    Case No. 17-60124
Seadrill Jack Up I B.V.                         Case No. 17-60126
Seadrill Jack Up II B.V.                        Case No. 17-60127
Seadrill Jupiter Ltd                            Case No. 17-60125
Seadrill Labuan Ltd                             Case No. 17-60128
Seadrill Libra Ltd                              Case No. 17-60129
Seadrill Limited                                Case No. 17-60079
Seadrill Management (S) Pte Ltd                 Case No. 17-60130
Seadrill Management AME Ltd                     Case No. 17-60131
Seadrill Management Ltd                         Case No. 17-60132
Seadrill Neptune Hungary Kft                    Case No. 17-60133
Seadrill Newfoundland Operations Ltd            Case No. 17-60134
Seadrill Nigeria Operations Limited             Case No. 17-60135
Seadrill Offshore AS                            Case No. 17-60136
Seadrill Offshore Malaysia Sdn Bhd              Case No. 17-60137
Seadrill Offshore Nigeria Limited               Case No. 17-60138
Seadrill Operations de Mexico S de R.L. de CV   Case No. 17-60139
Seadrill Orion Ltd                              Case No. 17-60140
Seadrill Pegasus (S) Pte Ltd                    Case No. 17-60141
Seadrill Prospero Ltd                           Case No. 17-60142
Seadrill Saturn Ltd                             Case No. 17-60143
Seadrill Servicos de Petroleos Ltda             Case No. 17-60144
Seadrill Telesto Ltd                            Case No. 17-60145
Seadrill Tellus Ltd                             Case No. 17-60146
Seadrill Tucana Ltd                             Case No. 17-60147
Seadrill UK Ltd                                 Case No. 17-60148
Sevan Brasil Ltd                                Case No. 17-60149
Sevan Driller Ltd                               Case No. 17-60150
Sevan Drilling Limited                          Case No. 17-60151
Sevan Drilling Ltd                              Case No. 17-60081
Sevan Drilling North America LLC                Case No. 17-60078
Sevan Drilling Pte Ltd                          Case No. 17-60152
Sevan Drilling Rig II AS                        Case No. 17-60153
Sevan Drilling Rig II Pte. Ltd                  Case No. 17-60154
Sevan Drilling Rig V AS                         Case No. 17-60155
Sevan Drilling Rig V Pte. Ltd                   Case No. 17-60156
Sevan Drilling Rig VI AS                        Case No. 17-60157
Sevan Louisiana Hungary Kft                     Case No. 17-60158
Sevan Marine Servicos de Perfuracao Ltda        Case No. 17-60159



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         On December 1, 2020, the Debtor’s affiliate, Seadrill Partners LLC and 28 affiliated entities listed below
(collectively, the “Seadrill Partners Debtors”) filed petitions in the United States Bankruptcy Court for the Southern
District of Texas (the “Court”) for relief under chapter 11 of title 11 of the United States Code. The Seadrill Partners
Debtors’ cases are currently pending before the Court and are jointly administered under Case No. 20-35740 (DRJ).

   Seadrill Partners LLC                                      Case No. 20-35740
   Seabras Rig Holdco Kft.                                    Case No. 20-35742
   Seadrill Auriga Hungary Kft.                               Case No. 20-35746
   Seadrill Canada Ltd.                                       Case No. 20-35749
   Seadrill Capricorn Holdings LLC                            Case No. 20-35755
   Seadrill China Operations Ltd.                             Case No. 20-35759
   Seadrill Deepwater Drillship Ltd.                          Case No. 20-35741
   Seadrill Ghana Operations Ltd.                             Case No. 20-35744
   Seadrill Mobile Units (Nigeria) Ltd.                       Case No. 20-35766
   Seadrill Gulf Operations Auriga LLC                        Case No. 20-35748
   Seadrill Gulf Operations Sirius LLC                        Case No. 20-35752
   Seadrill Gulf Operations Vela LLC                          Case No. 20-35756
   Seadrill Hungary Kft.                                      Case No. 20-35739
   Seadrill International Ltd.                                Case No. 20-35761
   Seadrill Leo Ltd.                                          Case No. 20-35764
   Seadrill OPCO Sub LLC                                      Case No. 20-35763
   Seadrill Operating GP LLC                                  Case No. 20-35760
   Seadrill Operating LP                                      Case No. 20-35757
   Seadrill Partners B.V.                                     Case No. 20-35753
   Seadrill Partners Finco LLC                                Case No. 20-35750
   Seadrill Partners Malaysia Sdn. Bhd.                       Case No. 20-35745
   Seadrill Partners Operating LLC                            Case No. 20-35743
   Seadrill Polaris Ltd.                                      Case No. 20-35747
   Seadrill T-15 Ltd.                                         Case No. 20-35751
   Seadrill T-16 Ltd.                                         Case No. 20-35754
   Seadrill Texas LLC                                         Case No. 20-35738
   Seadrill US Gulf LLC                                       Case No. 20-35758
   Seadrill Vela Hungary Kft.                                 Case No. 20-35762
   Seadrill Vencedor Ltd.                                     Case No. 20-35765

         On February 7, 2021, the Debtor’s affiliate, Asia Offshore Drilling Limited and 4 affiliated entities listed below
(collectively, the “Asia Offshore Drilling Debtors”) filed petitions in the United States Bankruptcy Court for the Southern
District of Texas (the “Court”) for relief under chapter 11 of title 11 of the United States Code. The Asia Offshore
Drilling Debtors’ cases are currently pending before the Court under Case Nos. 21-30385 (DRJ), 21-30386 (DRJ),
21-30387 (DRJ), 21-30388 (DRJ), and 21-30391 (DRJ).

 Asia Offshore Drilling Limited                               Case No. 21-30385
 Asia Offshore Rig 1 Limited                                  Case No. 21-30386
 Asia Offshore Rig 2 Limited                                  Case No. 21-30387
 Asia Offshore Rig 3 Limited                                  Case No. 21-30388
 Seadrill GCC Operations Ltd.                                 Case No. 21-30391
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Scorpion USA Expats Inc.                      Seadrill Offshore Nigeria Ltd.
Scorpion Vigilant Ltd.                        Seadrill Operations de Mexico S de RL de CV
SDS Drilling Ltd.                             Seadrill Orion Ltd.
Sea Dragon de Mexico S de RL de CV            Seadrill Pegasus (S) Pte Ltd.
Seadrill Abu Dhabi Operations Limited         Seadrill Prospero Ltd.
Seadrill Americas, Inc.                       Seadrill Proteus Ltd.
Seadrill Angola LDA                           Seadrill Rhea Ltd.
Seadrill Ariel Ltd.                           Seadrill Rig Holding Company Limited
Seadrill Australia Pte Ltd.                   Seadrill Saturn Ltd.
Seadrill Brunei Ltd.                          Seadrill Saudi I BV
Seadrill Callisto Ltd.                        Seadrill Saudi II BV
Seadrill Carina Ltd.                          Seadrill Servicos de Petroleos Ltda.
Seadrill Castor Ltd.                          Seadrill Sevan Holdings Limited
Seadrill Castor Pte Ltd.                      Seadrill Telesto Ltd.
Seadrill Common Holdings Ltd.                 Seadrill Tellus Ltd.
Seadrill Cressida Ltd.                        Seadrill Tethys Ltd.
Seadrill Deepwater Charterer Ltd.             Seadrill Titan Ltd.
Seadrill Deepwater Contracting Ltd.           Seadrill Titania Sarl
Seadrill Deepwater Crewing Ltd.               Seadrill Treasury UK Limited
Seadrill Deepwater Holdings Ltd.              Seadrill Triton Ltd.
Seadrill Deepwater Units Pte Ltd.             Seadrill Tucana Ltd.
Seadrill Dione Ltd.                           Seadrill UK Ltd.
Seadrill Eclipse Ltd.                         Seadrill UK Operations Ltd.
Seadrill Eminence Ltd.                        Seadrill UK Support Services Ltd.
Seadrill Equatorial Guinea Ltd.               Seadrill Umbriel Ltd.
Seadrill Europe Management AS                 Sevan Brasil Ltd.
Seadrill Far East Ltd.                        Sevan Developer Ltd.
Seadrill Freedom Ltd.                         Sevan Driller Ltd.
Seadrill Gemini Ltd.                          Sevan Drilling Limited
Seadrill Global Services Ltd.                 Sevan Drilling North America LLC
Seadrill Gulf Operations Neptune LLC          Sevan Drilling Pte Ltd.
Seadrill Holdings Singapore Pte Ltd.          Sevan Drilling Rig II AS
Seadrill Hyperion Ltd.                        Sevan Drilling Rig II Pte Ltd.
Seadrill Indonesia Ltd.                       Sevan Drilling Rig IX Pte Ltd.
Seadrill Insurance Ltd.                       Sevan Drilling Rig V Pte Ltd.
Seadrill International Resourcing DMCC        Sevan Louisiana Hungary Kft.
Seadrill Investment Holding Company Limited   Sevan Marine Servicos de Perfuracao Ltda
Seadrill Jack Up Holding Ltd.




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Official Form 201A (12/15)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

                                                                     )
In re:                                                               )     Chapter 11
                                                                     )
SEADRILL LIMITED,                                                    )     Case No. 21-___________(___)
                                                                     )
                                  Debtor.                            )
                                                                     )
      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

        1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
    number is   0001737706

        2. The following financial data is the latest available information and refers to the debtor’s condition on
    June 30, 2020
         (a)   Total assets                                                $   7,291,000,000
         (b)   Total debts (including debts listed in 2.c., below)         $   7,193,000,000
         (c)   Debt securities held by more than 500 holders                   See comment
                                                                                                 Approximate
                                                                                                 number of
                                                                                                 holders:
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
         secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment


         (d)   Number of shares of preferred stock                                                N/A
                                                    2
         (e)   Number of shares of common stock                                                   138,880,000


                                 Seadrill Limited does not and cannot know the precise number of beneficial holders of any of
                                 the debt securities it has issued and does not believe that any such securities are held by
         Comments, if any:       more than 500 holders.


        3. Brief description of debtor’s business:       Offshore drilling services required for exploration and production of oil
    and gas resources.

         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
    voting securities of debtor:3 Hemen Holding Ltd (27.09%).




2
       As of June 30, 2020, there were 138,880,000 shares authorized and 100,329,887 shares issued.
3
       As of December 31, 2020.
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                                             Seadrill Limited

                                            (the “Company”)

         Minutes of a meeting of the board of directors (the “Governing Body”) of the Company
               (the “Meeting”) from 6:00pm Local Bermuda Time on February 10, 2021

Present:         Glen Ole Rødland

                 Gunnar Winther Eliassen

                 Bjarte Bøe

                 Herman R Flinder

                 Birgit Aagaard-Svendsen

In attendance:

Management: Stuart Jackson

                 Sandra Redding

                 Grant Creed

                 Tyson De Souza

                 Abdallah Kalam

                 Sarah French



Advisors:        David Hilty (Houlihan Lokey, Inc.)

                 Drew Talarico (Houlihan Lokey, Inc.)

                 Anup Sathy (Kirkland & Ellis LLP)

                 Ross M. Kwasteniet Kirkland & Ellis LLP

                 Ellen Teresa Heyerdahl (Advokatfirmaet Thommessen AS)

                 Philip Snell (Slaughter and May)




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         NOTICE AND QUORUM

         IT WAS RESOLVED THAT Glen Ole Rødland be appointed Chairperson of the Meeting.

         The Chairperson noted that the Meeting had been duly convened by proper notice and in
         accordance with the Company’s governing documents and applicable law and that a quorum was
         present (which quorum was present, and maintained and voting throughout the Meeting).

         DECLARATION OF INTERESTS

         The members of the Governing Body confirmed that they had no interest in the subject matter of
         the Meeting which had not already been duly disclosed to the Meeting as required by the
         Company’s governing documents and applicable law.

         BACKGROUND AND PURPOSE OF THE MEETING

         The Chairperson noted that the purpose of the meeting is for the Governing Body to consider and
         approve the filing of a voluntary petitions for relief for the Company and its subsidiaries under the
         provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
         the “Bankruptcy Code”), and if applicable, local proceedings for the Company, pursuant to
         applicable law and in accordance with the requirements of the Company’s governing documents
         and applicable law (the “Restructuring Matters”).

         In advance of the Meeting, the Governing Body received and considered the presentation entitled
         “Project Paratus: Presentation to the Board of Seadrill Limited” dated as of the date hereof and
         certain materials presented by the management of the Company and the Company’s financial and
         legal advisors, including, but not limited to, materials regarding the liabilities and obligations of
         the Company and its subsidiaries, their liquidity, strategic alternatives available, and the effect of
         the foregoing on the Company and its subsidiaries’ businesses and the Company and its
         subsidiaries’ stakeholders.

         RESOLUTIONS

         The Governing Body, having reviewed and considered the materials presented by the
         management of the Company and the Company’s financial and legal advisors, and having had
         adequate opportunity to consult such persons regarding the materials presented, obtain
         additional information, and to fully consider each of the strategic alternatives available to the
         Company, therefore RESOLVED THAT:

1.       VOLUNTARY PETITIONS FOR RELIEF UNDER APPLICABLE BANKRUPTCY LAW AND SEEKING
         NECESSARY RELIEF

     A. In the judgment of the Governing Body it is desirable and in the best interest of the Company, its
        interest holders, its creditors, and other parties in interest, that the Company file or cause to be
        filed voluntary petitions for relief (the “Bankruptcy Petitions”) under the provisions of chapter 11
        of the Bankruptcy Code for the Company and any of its subsidiaries (including, for the avoidance
        of doubt, any of the entities listed on Schedule 1 attached hereto) any applicable foreign ancillary


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         proceedings for the Company on the date hereof or as soon as reasonably practicable thereafter;
         and, in accordance with the requirements in the Company’s governing documents and applicable
         law, hereby consents to, authorizes and approves, the filing of the Bankruptcy Petitions and the
         foreign ancillary proceedings; and

     B. The Chief Executive Officer, Chief Restructuring Officer, General Counsel or other duly appointed
        senior executive officer of the Company (collectively, the “Authorized Persons”) be, and hereby
        are, authorized and appointed to act as signatory and attorney on behalf of the Company in
        respect of the Restructuring Matters and/or any persons to whom such Authorized Persons
        and/or officers delegate certain responsibilities, be, and hereby are, authorized to execute (under
        the common seal of the Company, if appropriate) and file on behalf of the Company and its
        subsidiaries all petitions, schedules, lists, and other motions, papers, or documents, and to take
        any and all action that they deem necessary or proper to obtain such relief, including, but not
        limited to, issuing a press release and other public communication announcing the Bankruptcy
        Petitions and any other action necessary or proper to maintain the ordinary course operations of
        the Company’s or any of its subsidiaries’ businesses.

2.       BERMUDA ANCILLARY PROCEEDINGS

     A. In the judgment of the Governing Body it is desirable and in the best interest of the Company, its
        interest holders, its creditors, and other parties in interest, that the Company file or cause to be
        filed a winding-up petition in furtherance of the Restructuring Matters (the “Bermuda Petition”)
        in the Supreme Court of Bermuda (the “Bermuda Court”);

     B. Each Authorized Person be, and hereby is, authorized to file or cause to be filed with the Bermuda
        Court the Bermuda Petition;

     C. Each Authorized Person be, and hereby is, authorized, empowered and directed to, concurrent
        with the filing of the Bermuda Petition, make an application to appoint Roy Bailey, Simon Edel
        and Chris Maiato as joint provisional liquidators; and

     D. Each Authorized Person be, and hereby is, authorized and empowered to execute (under the
        Common Seal of the Company, if appropriate), deliver, and file or cause to be filed with the
        Bermuda Court, including through Conyers Dill & Pearman Limited, on behalf of the Company, all
        papers, motions, applications, schedules, and pleadings necessary or convenient to facilitate the
        Bermuda Petition and all other matters and proceedings, and any and all other documents,
        including affidavits and declarations, necessary or appropriate in connection with the Bermuda
        Petition, each in such form or forms as such Authorized Person may approve, such approval to be
        conclusively evidenced by said individual taking such action or the execution thereof.

3.       RETENTION OF PROFESSIONALS

     A. Each of the Authorized Persons, be, and hereby are, authorized, empowered and directed to
        employ: (i) the law firm of Kirkland & Ellis LLP as general bankruptcy counsel, (ii) the law firm of
        Jackson Walker L.L.P. as co-bankruptcy counsel, (iii) the law firm of Slaughter and May as
        co-corporate counsel, (iv) the law firm of Conyers Dill & Pearman Limited as co-corporate counsel,
        (v) the law firm of Advokatfirmaet Thommessen AS as co-corporate counsel, (vi) Houlihan Lokey,
        Inc. as financial advisor, (vii) Alvarez & Marsal North America, LLC as restructuring advisor, (viii)
        Prime Clerk LLC as notice and claims agent, and (ix) any other legal counsel, accountants, financial

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         advisors, restructuring advisors or other professionals the Authorized Persons deem necessary,
         appropriate or advisable; each to represent and assist the Company in carrying out its duties and
         responsibilities and exercising its rights under the Bankruptcy Code and any applicable law
         (including, but not limited to, the law firms filing any pleadings or responses); and in connection
         therewith, the Authorized Persons, be, and hereby are authorized, empowered and directed, in
         accordance with the terms and conditions hereof, to execute (under the common seal of the
         Company, if appropriate) appropriate retention agreements, pay appropriate retainers, and to
         cause to be filed appropriate applications for authority to retain such services; and

     B. Each of the Authorized Persons, be, and hereby are, authorized, empowered and directed to
        execute (under the common seal of the Company, if appropriate) and file all petitions, schedules,
        motions, lists, applications, pleadings, and other papers, and to perform such further actions and
        execute (under the common seal of the Company, if appropriate) such further documentation
        that the Authorized Persons in their absolute discretion deem necessary, appropriate or desirable
        in accordance with these resolutions.

4.       USE OF CASH COLLATERAL

     A. To the extent applicable to the Company, in the judgment of the Governing Body, it is desirable
        and in the best interest of the Company, its interest holders, its creditors, and other parties in
        interest, to obtain the benefits from the use of cash collateral (as such term is defined in section
        363(a) of the Bankruptcy Code), which is security for certain of the Company’s prepetition secured
        lenders under certain credit facilities by and among the Company, and the guarantors party
        thereto, the lenders party thereto (the “Prepetition Secured Lenders);

     B. To the extent applicable to the Company, the Authorized Persons be, and hereby are, authorized,
        directed and empowered in the name of, and on behalf of, the Company to seek approval of the
        use of cash collateral pursuant to a cash collateral order in interim and final form (a “Cash
        Collateral Order”), and, to the extent applicable to the Company, any Authorized Person be, and
        hereby is, authorized, empowered, and directed to negotiate, execute (under the common seal
        of the Company, if appropriate), and deliver any and all agreements, instruments, or documents,
        by or on behalf of the Company, necessary or advisable to implement the Cash Collateral Order,
        including providing for adequate protection to the Prepetition Secured Lenders in accordance
        with section 363 of the Bankruptcy Code, as well as any additional or further agreements for the
        use of cash collateral in connection with the Company’s chapter 11 cases, which agreement(s)
        may require the Company to grant adequate protection and security interests to the Prepetition
        Secured Lenders and each other agreement, instrument, or document to be executed and
        delivered in connection therewith, by or on behalf of the Company pursuant thereto or in
        connection therewith, all with such changes therein and additions thereto as any Authorized
        Person in his absolute discretion approves, such approval to be conclusively evidenced by the
        taking of such action or by the execution and delivery thereof;

     C. Each of the Authorized Persons be, and hereby are, authorized, directed, and empowered in the
        name of, and on behalf of, the Company to execute (under the common seal of the Company, if
        appropriate) and deliver any amendments, supplements, modifications, renewals, replacements,
        consolidations, substitutions, and extensions of the Cash Collateral Order or to do such other
        things which shall in his/her absolute discretion be necessary, desirable, proper, or advisable to



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         give effect to the foregoing resolutions, which determination shall be conclusively evidenced by
         his or their execution thereof; and

5.       FURTHER ACTIONS AND PRIOR ACTIONS

     A. The Company is hereby authorized to authorize (and the Company hereby authorizes) any direct
        or indirect subsidiary of the Company or any entity of which the Company or any subsidiary of
        such Company is the sole member, general partner, managing member, or equivalent manager,
        as applicable, to take each of the actions described in these resolutions or any of the actions
        authorized in these resolutions, and none of the resolutions contained herein, or action taken in
        furtherance hereto, shall have or cause an adverse effect on any such subsidiary or the Company’s
        interest therein (including without limitation, any automatic dissolution, divestiture, dissociation,
        or like event under applicable law);

     B. In addition to the specific authorizations heretofore conferred upon the Authorized Persons, the
        Authorized Persons, either individually or as otherwise required by the Company’s governing
        documents and applicable law, be, and each of them hereby is, authorized to execute (under hand
        or under the common seal of the Company if appropriate), acknowledge, deliver, and file any and
        all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
        other documents on behalf of the Company relating to the Restructuring Matters;

     C. Each of the Authorized Persons (and their designees and delegates) be, and hereby is, authorized,
        empowered, and directed, in the name of and on behalf of the Company, to take or cause to be
        taken any all such other and further action, and to execute (under the common seal of the
        Company, if appropriate), acknowledge, deliver, and file any and all such agreements, petitions,
        schedules, motions, lists, applications, pleadings, and other papers, certificates, instruments, and
        other documents and to pay all expenses, including but not limited to filing fees, in each case as
        in such Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary,
        appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of the
        resolution adopted herein;

     D. The Governing Body has received sufficient notice of the actions and transactions relating to the
        matters contemplated by the foregoing resolutions, as may be required by the governing
        documents of the Company, or hereby waives any right to have received such notice;

     E. All acts, actions, and transactions relating to the matters contemplated by the foregoing
        Resolutions done in the name of and on behalf of the Company, which acts would have been
        approved by the foregoing Resolutions except that such acts were taken before the adoption of
        these Resolutions, are hereby in all respects approved, confirmed and ratified as the true acts and
        deeds of the Company with the same force and effect as if each such act, transaction, agreement,
        or certificate had been specifically authorized in advance by resolution of the Governing Body;
        and

     F. Any Authorized Person be, and each of them hereby is, authorized to do all such other acts, deeds
        and other things as the Company itself may lawfully do, in accordance with its governing
        documents and applicable law, howsoever arising in connection with the matters above, or in
        furtherance of the intentions expressed in the foregoing resolutions, including, but not limited to,
        the negotiation, finalization, execution (under hand or common seal, whether or not expressed


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         to be a deed, as may be necessary or appropriate) and delivery of any other agreements,
         certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other documents
         whatsoever as the individual acting may in his/her absolute and unfettered discretion approve,
         deem or determine necessary, appropriate or advisable, such approval, deeming or
         determination to be conclusively evidenced by said individual taking such action or the execution
         thereof.

         FILING

         A. The Chairperson instructed the Company Secretary (or another officer of the Company, as
            appropriate) to arrange all necessary filings and returns in consequence of the business
            transacted at the Meeting.

         B. The board reviewed and approved the tabled market notification and press release.

         C. The board reviewed and approved the post-filing communications plan recommended by
            management.

         CLOSE

         There being no further business, the Meeting closed.


                                         [Signature pages follow]




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                                                           Schedule 1

                                                       Seadrill Subsidiaries

                 Seadrill Limited                                              Bermuda
                 Eastern Drilling AS                                           Norway
                 North Atlantic Alpha Ltd.                                     Bermuda
                 North Atlantic Elara Ltd.                                     Bermuda
                 North Atlantic Epsilon Ltd.                                   Bermuda
                 North Atlantic Linus Charterer Ltd.                           Bermuda
                 North Atlantic Navigator Ltd.                                 Bermuda
                 North Atlantic Phoenix Ltd.                                   Bermuda
                 North Atlantic Venture Ltd.                                   Bermuda
                 Scorpion Courageous Ltd.                                      Bermuda
                 Scorpion Deepwater B.V.                                       Netherlands
                 Scorpion Deepwater Ltd.                                       Bermuda
                 Scorpion Drilling Ltd.                                        Bermuda
                 Scorpion Freedom Ltd.                                         Bermuda
                 Scorpion International Ltd.                                   Bermuda
                 Scorpion Nederlandse B.V.                                     Netherlands
                 Scorpion Offshore Inc.                                        United States
                 Scorpion Resolute Ltd.                                        Bermuda
                 Scorpion Rigs Ltd.                                            Bermuda
                 Scorpion Servicos Offshore Ltda.                              Brazil
                 Scorpion USA Expats, Inc.                                     United States
                 Scorpion Vigilant Ltd.                                        Bermuda
                 SDS Drilling Ltd.                                             Bermuda
                 Sea Dragon de Mexico S de R.L. de CV                          Mexico
                 Seadrill Abu Dhabi Operations Limited                         Bermuda
                 Seadrill Americas, Inc.                                       United States
                 Seadrill Angola Lda.                                          Angola
                 Seadrill Ariel Ltd.                                           Liberia
                 Seadrill Australia Pte Ltd.                                   Singapore
                 Seadrill Brunei Ltd.                                          Bermuda
                 Seadrill Callisto Ltd.                                        Bermuda
                 Seadrill Carina Ltd.                                          Bermuda
                 Seadrill Castor Ltd.                                          Bermuda
                 Seadrill Castor Pte Ltd.                                      Singapore
                 Seadrill Common Holdings Ltd.                                 Bermuda
                 Seadrill Cressida Ltd.                                        Bermuda
                 Seadrill Deepwater Charterer Ltd.                             Bermuda
                 Seadrill Deepwater Contracting Ltd.                           Bermuda
                 Seadrill Deepwater Crewing Ltd.                               Bermuda
                 Seadrill Deepwater Holdings Ltd.                              Bermuda
                 Seadrill Deepwater Units Pte Ltd.                             Singapore
                 Seadrill Eclipse Ltd.                                         Bermuda




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                 Seadrill Eminence Ltd.                                  Bermuda
                 Seadrill Equatorial Guinea Ltd.                         Bermuda
                 Seadrill Europe Management AS                           Norway
                 Seadrill Far East Ltd.                                  Hong Kong
                 Seadrill Freedom Ltd.                                   Bermuda
                 Seadrill Gemini Ltd.                                    Bermuda
                 Seadrill Global Services Ltd.                           Bermuda
                 Seadrill Gulf Operations Neptune LLC                    United States
                 Seadrill Holdings Singapore Pte Ltd.                    Singapore
                 Seadrill Indonesia Ltd.                                 Bermuda
                 Seadrill Insurance Ltd.                                 Bermuda
                 Seadrill International Resourcing DMCC                  United Arab Emirates
                 Seadrill Investment Holding Company Limited             Bermuda
                 Seadrill Jack Up Holding Ltd.                           Bermuda
                 Seadrill Jack Up I B.V.                                 Netherlands
                 Seadrill Jack Up II B.V.                                Netherlands
                 Seadrill Jack-Ups Contracting Ltd.                      Bermuda
                 Seadrill Jupiter Ltd.                                   Bermuda
                 Seadrill Labuan Ltd.                                    Malaysia
                 Seadrill Management (S) Pte Ltd.                        Singapore
                 Seadrill Management AME Ltd.                            Bermuda
                 Seadrill Management Ltd.                                United Kingdom
                 Seadrill Mira Hungary Kft.                              Hungary
                 Seadrill Mira Ltd.                                      Bermuda
                 Seadrill Neptune Hungary Kft.                           Hungary
                 Seadrill Newfoundland Operations Ltd.                   Canada
                 Seadrill Nigeria Operations Ltd.                        Nigeria

                 Seadrill North Atlantic Holdings Limited ("New NADL")   Bermuda

                 Seadrill North Sea Crewing Ltd.                         Bermuda
                 Seadrill Norway Crew AS                                 Norway
                 Seadrill Norway Operations Ltd.                         Bermuda
                 Seadrill Offshore AS                                    Norway
                 Seadrill Offshore Malaysia Sdn. Bhd.                    Malaysia
                 Seadrill Offshore Nigeria Ltd.                          Nigeria
                 Seadrill Operations de Mexico S de RL de CV             Mexico
                 Seadrill Orion Ltd.                                     Bermuda
                 Seadrill Pegasus (S) Pte Ltd.                           Singapore
                 Seadrill Prospero Ltd.                                  Bermuda
                 Seadrill Rig Holding Company Limited                    Bermuda
                 Seadrill Saturn Ltd.                                    Bermuda
                 Seadrill Saudi I B.V.                                   Netherlands
                 Seadrill Saudi II B.V.                                  Netherlands
                 Seadrill Servicos de Petroleos Ltda.                    Brazil
                 Seadrill Sevan Holdings Limited                         Bermuda
                 Seadrill Telesto Ltd.                                   Bermuda


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                 Seadrill Tellus Ltd.                            Bermuda
                 Seadrill Titania Sarl                           Luxembourg
                 Seadrill Treasury UK Limited                    United Kingdom
                 Seadrill Triton Ltd.                            Bermuda
                 Seadrill Tucana Ltd.                            Bermuda
                 Seadrill UK Ltd.                                United Kingdom
                 Seadrill UK Operations Ltd.                     United Kingdom
                 Seadrill UK Support Services Ltd.               United Kingdom
                 Sevan Brasil Ltd.                               Bermuda
                 Sevan Developer Ltd.                            Bermuda
                 Sevan Driller Ltd.                              Bermuda
                 Sevan Drilling Limited                          United Kingdom
                 Sevan Drilling North America LLC                United States
                 Sevan Drilling Pte Ltd.                         Singapore
                 Sevan Drilling Rig II AS                        Norway
                 Sevan Drilling Rig II Pte Ltd.                  Singapore
                 Sevan Drilling Rig IX Pte Ltd.                  Singapore
                 Sevan Drilling Rig V Pte Ltd.                   Singapore
                 Sevan Louisiana Hungary Kft.                    Hungary
                 Sevan Marine Servicos de Perfuracao Ltda        Brazil
                 Seadrill Titan Ltd.                             Bermuda
                 Seadrill Proteus Ltd.                           Bermuda
                 Seadrill Rhea Ltd.                              Bermuda
                 Seadrill Tethys Ltd.                            Bermuda
                 Seadrill Hyperion Ltd.                          Bermuda
                 Seadrill Umbriel Ltd.                           Bermuda
                 Seadrill Dione Ltd.                             Bermuda
                 Seadrill Mimas Ltd.                             Bermuda




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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION                               ENTERED
                                                                            02/11/2021
                                       )
In re:                                 )   Chapter 11
                                       )
SEADRILL LIMITED,                      )   Case No. 21-30427 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
ASIA OFFSHORE DRILLING LIMITED,        )   Case No. 21-30385 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
ASIA OFFSHORE RIG 1 LIMITED,           )   Case No. 21-30386 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
ASIA OFFSHORE RIG 2 LIMITED,           )   Case No. 21-30387 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
ASIA OFFSHORE RIG 3 LIMITED,           )   Case No. 21-30388 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )




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                                       )
In re:                                 )   Chapter 11
                                       )
EASTERN DRILLING AS,                   )   Case No. 21-30437 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
NORTH ATLANTIC ALPHA LTD.,             )   Case No. 21-30443 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
NORTH ATLANTIC ELARA LTD.,             )   Case No. 21-30445 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
NORTH ATLANTIC EPSILON LTD.,           )   Case No. 21-30434(DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
                                       )
NORTH ATLANTIC LINUS CHARTERER         )   Case No. 21-30449 (DRJ)
LTD.,                                  )
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )




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                                       )
In re:                                 )   Chapter 11
                                       )
NORTH ATLANTIC NAVIGATOR LTD.,         )   Case No. 21-30453 (DRJ)
                                       )
                   Debtor.             )
                                       )
Tax I.D. No. N/A                       )
                                       )
In re:                                 )   Chapter 11
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                   Debtor.             )
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                   Debtor.             )
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                   Debtor.             )
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                   Debtor.             )
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                   Debtor.             )
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                   Debtor.             )
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                   Debtor.             )
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                   Debtor.             )
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                    Debtor.            )
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                   Debtor.             )
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                 Debtor.         )
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                   Debtor.            )
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                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
                                      )
SEADRILL PROTEUS LTD.,                )    Case No. 21-30459 (DRJ)
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEADRILL RHEA LTD.,                   )    Case No. 21-30471 (DRJ)
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                   Debtor.            )
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Tax I.D. No. N/A                      )




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In re:                                )    Chapter 11
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SEADRILL RIG HOLDING COMPANY          )    Case No. 21-30478 (DRJ)
LIMITED,                              )
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEADRILL SATURN LTD.,                 )    Case No. 21-30491 (DRJ)
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
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SEADRILL SAUDI I B.V.,                )    Case No. 21-30499 (DRJ)
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                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
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SEADRILL SAUDI II B.V.,               )    Case No. 21-30504 (DRJ)
                                      )
                   Debtor.            )
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Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEADRILL SERVICOS DE PETROLEOS        )    Case No. 21-30521 (DRJ)
LTDA.,                                )
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                   Debtor.            )
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Tax I.D. No. N/A                      )




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In re:                           )         Chapter 11
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SEADRILL SEVAN HOLDINGS LIMITED, )         Case No. 21-30527 (DRJ)
                                 )
                 Debtor.         )
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Tax I.D. No. N/A                 )
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In re:                           )         Chapter 11
                                 )
SEADRILL TELESTO LTD.,           )         Case No. 21-30531 (DRJ)
                                 )
                 Debtor.         )
                                 )
Tax I.D. No. N/A                 )
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In re:                           )         Chapter 11
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SEADRILL TELLUS LTD.,            )         Case No. 21-30470 (DRJ)
                                 )
                 Debtor.         )
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Tax I.D. No. N/A                 )
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In re:                           )         Chapter 11
                                 )
SEADRILL TETHYS LTD.,            )         Case No. 21-30496 (DRJ)
                                 )
                 Debtor.         )
                                 )
Tax I.D. No. N/A                 )
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In re:                           )         Chapter 11
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SEADRILL TITAN LTD.,             )         Case No. 21-30511 (DRJ)
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                 Debtor.         )
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Tax I.D. No. N/A                 )




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In re:                                )    Chapter 11
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SEADRILL TITANIA SARL,                )    Case No. 21-30524 (DRJ)
                                      )
                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
                                      )
SEADRILL TREASURY UK LIMITED,         )    Case No. 21-30532 (DRJ)
                                      )
                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
                                      )
SEADRILL TRITON LTD.,                 )    Case No. 21-30535 (DRJ)
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                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
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SEADRILL TUCANA LTD.,                 )    Case No. 21-30540 (DRJ)
                                      )
                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
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SEADRILL UK LTD.,                     )    Case No. 21-30541 (DRJ)
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                   Debtor.            )
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Tax I.D. No. N/A                      )




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In re:                                )    Chapter 11
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SEADRILL UK OPERATIONS LTD.,          )    Case No. 21-30542 (DRJ)
                                      )
                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
                                      )
SEADRILL UK SUPPORT SERVICES          )    Case No. 21-30466 (DRJ)
LTD.,                                 )
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEADRILL UMBRIEL LTD.,                )    Case No. 21-30473 (DRJ)
                                      )
                   Debtor.            )
Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
                                      )
SEVAN BRASIL LTD.,                    )    Case No. 21-30479 (DRJ)
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                   Debtor.            )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
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SEVAN DEVELOPER LTD.,                 )    Case No. 21-30483 (DRJ)
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                   Debtor.            )
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Tax I.D. No. N/A                      )




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In re:                                )    Chapter 11
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SEVAN DRILLER LTD.,                   )    Case No. 21-30488 (DRJ)
                                      )
                    Debtor.           )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEVAN DRILLING LIMITED,               )    Case No. 21-30495 (DRJ)
                                      )
                    Debtor.           )
                                      )
Tax I.D. No. N/A                      )

                                      )
In re:                                )    Chapter 11
                                      )
SEVAN DRILLING NORTH AMERICA          )    Case No. 21-30508 (DRJ)
LLC,                                  )
                                      )
                    Debtor.           )
                                      )
Tax I.D. No. XX-XXXXXXX               )
                                      )
In re:                                )    Chapter 11
                                      )
SEVAN DRILLING PTE LTD.,              )    Case No. 21-30519 (DRJ)
                                      )
                    Debtor.           )
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Tax I.D. No. N/A                      )
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In re:                                )    Chapter 11
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SEVAN DRILLING RIG II AS,             )    Case No. 21-30522 (DRJ)
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                    Debtor.           )
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Tax I.D. No. N/A                      )




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In re:                                )    Chapter 11
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SEVAN DRILLING RIG II PTE LTD.,       )    Case No. 21-30465 (DRJ)
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEVAN DRILLING RIG IX PTE LTD.,       )    Case No. 21-30472 (DRJ)
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEVAN DRILLING RIG V PTE LTD.,        )    Case No. 21-30475 (DRJ)
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )
                                      )
In re:                                )    Chapter 11
                                      )
SEVAN LOUISIANA HUNGARY KFT.,         )    Case No. 21-30482 (DRJ)
                                      )
                   Debtor.            )
                                      )
Tax I.D. No. N/A                      )

In re:                                )    Chapter 11
                                      )
SEVAN MARINE SERVICOS DE              )    Case No. 21-30490 (DRJ)
PERFURACAO LTDA,                      )
                                      )
                   Debtor.            )
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Tax I.D. No. N/A                      )




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                 ORDER (I) DIRECTING JOINT ADMINISTRATION
        OF THE CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF
                                   (Docket No. 2)
        Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) directing the

joint administration of the Debtors’ chapter 11 cases for procedural purposes only; and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

this Court having found that it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.       The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by this Court under Case No. 21-30427 (DRJ) with a


1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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petition date of February 7, 2021, for the AOD Debtors, and February 10, 2021, for the Seadrill

Limited Debtors. Additionally, the following checked items are ordered:

         a.              One disclosure statement and plan of reorganization may be filed for all of
                          the cases by any plan proponent.

         b.              Parties may request joint hearings on matters pending in any of the jointly
                          administered cases.

         c.              Other: See below.

         2.      The caption of the jointly administered cases should read as follows:


                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
                                                                 )
In re:                                                           ) Chapter 11
                                                                 )
SEADRILL LIMITED, et al.,2                                       ) Case No. 21-30427 (DRJ)
                                                                 )
                          Debtors.                               ) (Jointly Administered)
                                                                 )

         3.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

         4.      A docket entry, substantially similar to the following, shall be entered on the

dockets of each of the Debtors, other than Seadrill Limited, and any related Debtor affiliates that

subsequently commence chapter 11 cases (which, for the avoidance of doubt, shall not include

the debtors in the Seadrill Partners Cases or any affiliate that subsequently joins the Seadrill

Partners Cases), to reflect the joint administration of these chapter 11 cases:

         An order has been entered in accordance with Rule 1015(b) of the Federal Rules of Bankruptcy
         Procedure and Rule 1015-1 of the Bankruptcy Local Rules directing joint administration of the

2
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at http://cases.primeclerk.com/SeadrillLimited. The location of Debtor
    Seadrill Americas, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases
    is 11025 Equity Drive, Suite 150, Houston, Texas 75201.


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     chapter 11 cases of: Seadrill Limited, Case No. 21-30427; Asia Offshore Drilling Limited, Case
     No. 21-30385; Asia Offshore Rig 1 Limited, Case No. 21-30386; Asia Offshore Rig 2 Limited,
     Case No. 21-30387; Asia Offshore Rig 3 Limited, Case No. 21-30388; Eastern Drilling AS, Case
     No. 21-30437; North Atlantic Alpha Ltd., Case No. 21-30443; North Atlantic Elara Ltd., Case No.
     21-30445; North Atlantic Epsilon Ltd., Case No. 21-30434; North Atlantic Linus Charterer Ltd.,
     Case No. 21-30449; North Atlantic Navigator Ltd., Case No. 21-30453; North Atlantic Phoenix
     Ltd., Case No. 21-30429; North Atlantic Venture Ltd., Case No. 21-30457; Scorpion Courageous
     Ltd., Case No. 21-30431; Scorpion Deepwater B.V., Case No. 21-30438; Scorpion Deepwater
     Ltd., Case No. 21-30450; Scorpion Drilling Ltd., Case No. 21-30463; Scorpion Freedom Ltd.,
     Case No. 21-30480; Scorpion International Ltd., Case No. 21-30492; Scorpion Nederlandse B.V.,
     Case No. 21-30503; Scorpion Offshore Inc., Case No. 21-30518; Scorpion Resolute Ltd., Case
     No. 21-30528; Scorpion Rigs Ltd., Case No. 21-30534; Scorpion Servicos Offshore Ltda, Case
     No. 21-30456; Scorpion USA Expats, Inc., Case No. 21-30461; Scorpion Vigilant Ltd., Case No.
     21-30469; SDS Drilling Ltd., Case No. 21-30476; Sea Dragon de Mexico S de R.L. de CV, Case
     No. 21-30485; Seadrill Abu Dhabi Operations Limited, Case No. 21-30493; Seadrill Americas,
     Inc., Case No. 21-30425; Seadrill Angola LDA, Case No. 21-30500; Seadrill Ariel Ltd., Case No.
     21-30502; Seadrill Australia Pte Ltd., Case No. 21-30510; Seadrill Brunei Ltd., Case No. 21-
     30477; Seadrill Callisto Ltd., Case No. 21-30481; Seadrill Carina Ltd., Case No. 21-30487;
     Seadrill Castor Ltd., Case No. 21-30497; Seadrill Castor Pte Ltd., Case No. 21-30505; Seadrill
     Common Holdings Ltd., Case No. 21-30509; Seadrill Cressida Ltd., Case No. 21-30513; Seadrill
     Deepwater Charterer Ltd., Case No. 21-30517; Seadrill Deepwater Contracting Ltd., Case No. 21-
     30525; Seadrill Deepwater Crewing Ltd., Case No. 21-30464; Seadrill Deepwater Holdings Ltd.,
     Case No. 21-30486; Seadrill Deepwater Units Pte Ltd., Case No. 21-30498; Seadrill Dione Ltd.
     Case No. 21-30506; Seadrill Eclipse Ltd., Case No. 21-30514; Seadrill Eminence Ltd., Case No.
     21-30526; Seadrill Equatorial Guinea Ltd., Case No. 21-30530; Seadrill Europe Management AS,
     Case No. 21-30536; Seadrill Far East Limited, Case No. 21-30538; Seadrill Freedom Ltd., Case
     No. 21-30432; Seadrill GCC Operations Ltd., Case No. 21-30391; Seadrill Gemini Ltd., Case No.
     21-30436; Seadrill Global Services Ltd., Case No. 21-30442; Seadrill Gulf Operations Neptune
     LLC, Case No. 21-30444; Seadrill Holdings Singapore Pte Ltd., Case No. 21-30447; Seadrill
     Hyperion Ltd., Case No. 21-30468; Seadrill Indonesia Ltd., Case No. 21-30452; Seadrill
     Insurance Ltd., Case No. 21-30455; Seadrill International Resourcing DMCC, Case No. 21-30462;
     Seadrill Investment Holding Company Limited, Case No. 21-30439; Seadrill Jack Up Holding
     Ltd., Case No. 21-30458; Seadrill Jack Up I B.V., Case No. 21-30474; Seadrill Jack Up II B.V.,
     Case No. 21-30489; Seadrill Jack-Ups Contracting Ltd., Case No. 21-30501; Seadrill Jupiter Ltd.,
     Case No. 21-30515; Seadrill Labuan Ltd., Case No. 21-30529; Seadrill Management (S) Pte Ltd.,
     Case No. 21-30537; Seadrill Management AME Ltd., Case No. 21-30539; Seadrill Management
     Ltd., Case No. 21-30433; Seadrill Mimas Ltd., Case No. 21-30533; Seadrill Mira Hungary Kft.,
     Case No. 21-30441; Seadrill Mira Ltd., Case No. 21-30446; Seadrill Neptune Hungary Kft., Case
     No. 21-30451; Seadrill Newfoundland Operations Ltd., Case No. 21-30507; Seadrill Nigeria
     Operations Limited, Case No. 21-30512; Seadrill North Atlantic Holdings Limited, Case No. 21-
     30520; Seadrill North Sea Crewing Ltd., Case No. 21-30523; Seadrill Norway Crew AS, Case No.
     21-30430; Seadrill Norway Operations Ltd., Case No. 21-30435; Seadrill Offshore AS, Case No.
     21-30440; Seadrill Offshore Malaysia Sdn. Bhd., Case No. 21-30448; Seadrill Offshore Nigeria
     Limited, Case No. 21-30454; Seadrill Operations de Mexico S de R.L. de CV, Case No. 21-30460;
     Seadrill Orion Ltd., Case No. 21-30467; Seadrill Pegasus (S) Pte Ltd., Case No. 21-30484;
     Seadrill Prospero Ltd., Case No. 21-30494; Seadrill Proteus Ltd., Case No. 21-30459; Seadrill
     Rhea Ltd., Case No. 21-30471; Seadrill Rig Holding Company Limited, Case No. 21-30478;
     Seadrill Saturn Ltd., Case No. 21-30491; Seadrill Saudi I B.V., Case No. 21-30499; Seadrill Saudi
     II B.V., Case No. 21-30504; Seadrill Servicos de Petroleos Ltda., Case No. 21-30521; Seadrill
     Sevan Holdings Limited, Case No. 21-30527; Seadrill Telesto Ltd., Case No. 21-30531; Seadrill
     Tellus Ltd., Case No. 21-30470; Seadrill Tethys Ltd., Case No. 21-30496; Seadrill Titan Ltd.,
     Case No. 21-30511; Seadrill Titania Sarl, Case No. 21-30524; Seadrill Treasury UK Limited, Case
     No. 21-30532; Seadrill Triton Ltd., Case No. 21-30535; Seadrill Tucana Ltd., Case No. 21-30540;
     Seadrill UK Ltd., Case No. 21-30541; Seadrill UK Operations Ltd., Case No. 21-30542; Seadrill
     UK Support Services Ltd., Case No. 21-30466; Seadrill Umbriel Ltd., Case No. 21-30473; Sevan
     Brasil Ltd., Case No. 21-30479; Sevan Developer Ltd., Case No. 21-30483; Sevan Driller Ltd.,

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       Case No. 21-30488; Sevan Drilling Limited, Case No. 21-30495; Sevan Drilling North America
       LLC, Case No. 21-30508; Sevan Drilling Pte Ltd., Case No. 21-30519; Sevan Drilling Rig II AS,
       Case No. 21-30522; Sevan Drilling Rig II Pte Ltd., Case No. 21-30465; Sevan Drilling Rig IX Pte
       Ltd., Case No. 21-30472; Sevan Drilling Rig V Pte Ltd., Case No. 21-30475; Sevan Louisiana
       Hungary Kft., Case No. 21-30482; Sevan Marine Servicos de Perfuracao Ltda, Case No. 21-
       30490. All further pleadings and other papers shall be filed in and all further docket entries
       shall be made in Case No. 21-30427 (DRJ).

       5.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

       6.      Any party in interest may request joint hearings on matters pending in any of

these chapter 11 cases.

       7.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       8.      The Debtors shall be permitted to file their monthly operating reports and post-

effective date quarterly operating reports required by the United States Trustee’s Region 7

Guidelines for Debtors-in-Possession on a consolidating basis; provided that disbursements will

be listed on a Debtor-by-Debtor basis.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.




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       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


     Signed: February 11, 2021.

                                                  ____________________________________
                                                  DAVID R. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE




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